         Case 2:23-cv-06188-JMW Document 103 Filed 11/15/23 Page 1 of 4 PageID #: 2266




November 15, 2023

Storage Post - Rockville Centre
250 Maple Ave
Rockville Centre, NY 11570
(516)-255-9100


Tenant:        Anthony Deo
Company:
Unit:          P021, ...
Address        3 hunting lane
               Old Westburry, Ny 11568

Payment Receipt
Payment Date: November 15, 2023 12:11 PM
Available Credit: 0.00
Current Balance: 0.00
Paid Through:     December 10, 2023
Receipt Number: 120688

By: DK


Date       Unit     Description                     Charge     Discount    Tax         Total    Payment Method
11/15/23   P021     Protection Pl 11/15-12/10       17.33        0.00      0.00        17.33     17.33  Master Card

11/15/23   P022     Protection Pl 11/15-12/10        17.33       0.00      0.00        17.33     17.33    Master Card

11/15/23   P024     Protection Pl 11/15-12/10        17.33       0.00      0.00        17.33     17.33    Master Card

11/15/23   P026     Protection Pl 11/15-12/10        17.33       0.00       0.00      17.33      17.33    Master Card
                                                             Taxes                               0.00
                                                             Payment (less tax)                  69.32
                                                             Payment Subtotal                    69.32
                                                             Credits Applied                     0.00
                                                             Refunds Applied                     0.00
                                                             Total Applied to Account            69.32

                                                             Current Account Balance           0.00
                                                             Paid By                           Master Card *****5312
                                                             Paid-Through Date                 December 10, 2023

Transaction Type Sale



Authorization 46579Z
Reference p1_txn_6554fbc7e4b501ffdc0f816

I agree to pay the above amount according to the card issuer statement.

x _________________________________________________
       Case 2:23-cv-06188-JMW Document 103 Filed 11/15/23 Page 2 of 4 PageID #: 2267

_______________________________________________________________________________
Did you know we offer moving and packing supplies? Shop worry-free with our 100% refund! Simply bring in your
unused or unopened items within 30 days with the original receipt.
________________________________________________________________________________
         Case 2:23-cv-06188-JMW Document 103 Filed 11/15/23 Page 3 of 4 PageID #: 2268




November 15, 2023

Storage Post - Rockville Centre
250 Maple Ave
Rockville Centre, NY 11570
(516)-255-9100


Tenant:        Anthony Deo
Company:
Unit:          P013
Address        3 hunting lane
               Old Westburry, Ny 11568

Payment Receipt
Payment Date: November 15, 2023 12:06 PM
Available Credit: 0.00
Current Balance: 0.00
Paid Through:     December 10, 2023
Receipt Number: 120687

By: DK


Date       Unit     Description                     Charge     Discount      Tax      Total    Payment Method
11/15/23   P013     Protection Pl 11/15-12/10       17.33        0.00       0.00      17.33     17.33  Master Card
                                                             Taxes                              0.00
                                                             Payment (less tax)                 17.33
                                                             Payment Subtotal                   17.33
                                                             Credits Applied                    0.00
                                                             Refunds Applied                    0.00
                                                             Total Applied to Account           17.33

                                                             Current Account Balance          0.00
                                                             Paid By                          Master Card *****5312
                                                             Paid-Through Date                December 10, 2023

Transaction Type Sale



Authorization 10500Z
Reference p1_txn_6554fa80dfd8aa54a2b1499

I agree to pay the above amount according to the card issuer statement.

x _________________________________________________




_______________________________________________________________________________
Did you know we offer moving and packing supplies? Shop worry-free with our 100% refund! Simply bring in your
unused or unopened items within 30 days with the original receipt.
________________________________________________________________________________
Case 2:23-cv-06188-JMW Document 103 Filed 11/15/23 Page 4 of 4 PageID #: 2269
